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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     :
UNITED STATES OF AMERICA,            :
                                     :
                                     :  Criminal No. 24-10293
v.                                   :
                                     :
CLS GLOBAL FZC LLC et al.            :
                                     :
                                     :
____________________________________:

                        MOTION FOR ADMISSION PRO HAC VICE

       THE UNDERSIGNED, Robert Fisher, pursuant to Local Rule 83.5.3, and as a member of

the bar of the United States District Court for the District of Massachusetts in good standing,

respectfully moves that Alexander Urban, Esq., of Blanche Law PLLC, 99 Wall Street, Suite 4460,

New York, NY 10005, (212) 716-1250, be admitted to appear and practice in this Court in the

above-captioned matter as counsel pro hac vice for CLS Global FZC LLC.

       In support of this motion, I state:

       1.      Mr. Urban is especially qualified to represent CLS Global FZC LLC in this case

and CLS Global FZC LLC has requested that Mr. Urban represent it in this action.

       2.      As set forth in Mr. Urban’s certification, he is in good standing in the jurisdictions

in which he is admitted to practice.

       3.      There has never been a disciplinary proceeding against Mr. Urban in any

jurisdiction in which he has been admitted to practice.

       4.      Mr. Urban is familiar with the Local Rules of the United States District Court for

the District of Massachusetts.

       5.      I agree to be responsible for the conduct of Mr. Urban and ensure that he complies

with the relevant Local Rules.
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       Pursuant to 28 U.S.C. § 1746, I declare the foregoing is true and correct.

       WHEREFORE, their admission is moved this 21st day of January, 2025. A proposed order

is attached hereto.

                                                      /s/ Robert A. Fisher
                                                      Robert A. Fisher (BBO No. 652602)
Dated: January 22, 2025                               rfisher@nixonpeabody.com
                                                      NIXON PEABODY LLP
                                                      53 State Street
                                                      Boston, MA 02109
                                                      Tel: (617) 345-1000
                                                      Fax: (617) 345-1300

                                                      Counsel for CLS Global FZC LLC



                                CERTIFICATE OF SERVICE

       I hereby certify that I filed this document through the Court’s ECF system on January 22,

2025, which will therefore be automatically sent electronically to all counsel of record via the

CM/ECF system.

                                                      /s/ Robert A. Fisher
                                                      Robert A. Fisher




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